
PER CURIAM.
Beverly Denise Evans has appealed from a sentence imposed following her plea of nolo contendere to purchasing cocaine. The State of Florida has moved to dismiss for lack of jurisdiction, citing section 924.-06, Florida Statutes (1989), Ford v. State, 575 So.2d 1335 (Fla. 1st DCA1991), and Kearney v. State, 579 So.2d 410 (Fla. 1st DCA1991).
We deny the motion to dismiss, Pyle v. State, 596 So.2d 744 (Fla. 1st DCA1992), and affirm. However, we direct that the special condition of probation requiring Evans to pay $1.00 monthly to First Step of Bay Co., Inc. be stricken, based on the trial court’s failure to pronounce that condition orally at sentencing. See Brown v. State, 600 So.2d 569 (Fla. 1st DCA1992) and Elmore v. State, 600 So.2d 569 (Fla. 1st DCA1992).
JOANOS, C.J., and ALLEN and WOLF, JJ., concur.
